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E. JEAN CARROLL, DATE FILED: 7-| 4-423
Plaintiff,
-against- 20-cv-7311 (LAK)
DONALD J. TRUMP,
Defendant.

ORDER RE ISSUE PRECLUSION CLAIMS

Lewis A. KAPLAN, District Judge.

Recent submissions by the parties suggest that each may contend that Carro// / has
an issue preclusive effect in this action. In order to identify and resolve any such claims, the Court
hereby establishes the following procedure.

i. On or before August 2, 2023, each party shall file a motion setting forth
precisely cach fact or proposition of law, if any, as to which the moving party claims Carroll H has
preclusive effect in this action. The motion shall be supported by a memorandum of law setting forth

the bases for the moving party’s claim. No fact or proposition of law not identified in such a motion
shall be regarded as having been established by Carroll IT.

2. Answering and reply papers with respect to any such motion shall be filed on
or before August 16, 2023 and August 23, 2023, respectively.

SO ORDERED.

Dated: July 19, 2023

/s/ Lewis A. Kaplan

Lewis A. Kaplan
United States District Judge
